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                                    IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:20-cv-00350-PAB-MEH

   DR. WILLIAM MOREAU,

                       Plaintiff,

   v.

   UNITED STATES OLYMPIC & PARALYMPIC COMMITTEE,

                       Defendant.


           DEFENDANT’S MOTION FOR INTERIM RESTRICTION OF ACCESS TO
                           PLAINTIFF’S COMPLAINT


            Defendant United States Olympic Committee d/b/a United States Olympic & Paralymp ic

   Committee (“Defendant” or “USOPC”), by and through its undersigned counsel and pursuant to

   Fed. R. Civ. P. 5.2 and D.C.COLO.LCivR 7.2(2), requests that access to the Complaint be

   temporarily restricted pending removal of Defendant’s privileged materials from that document.

   As discussed more fully below, the urgent action requested in this Motion is necessary to preserve

   the USOPC’s privilege pending resolution of Plaintiff’s unlawful efforts to use the USOPC’s

   privileged and misappropriated materials in the present lawsuit. Immediate action is necessary to

   mitigate the damage caused by Moreau’s conduct and preserve the USOPC’s privileges.

          I. CERTIFICATE OF CONFERRAL PURSUANT TO D.C.COLO.LCIVR 7.1.

            Counsel for Defendant has conferred with counsel for Plaintiff about the relief requested

   in this Motion. Plaintiff’s counsel opposes the relief requested herein.




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                                    II. FACTUAL BACKGROUND

            William Moreau was employed by the USOPC as the head of its Sports Medicine

   department for nearly ten years, holding a Vice President position for his last two years with the

   organization. His job was to coordinate and oversee the USOPC’s health care and medical services

   programs provided for U.S. athletes.       Moreau’s job required regular coordination with the

   USOPC’s in-house legal team to obtain legal advice concerning Sports Medicine’s services and

   initiatives, as well as legal advice related to specific incidents or events implicating Sports

   Medicine in some way.

            Immediately upon termination, Moreau retained legal counsel to demand additiona l

   severance. Upon information and belief, Moreau gave privileged materials he had taken from the

   USOPC to his counsel at that time. In the summer of 2019, Moreau’s legal counsel made several

   demands and threats to file suit but never disclosed that they had in their possession the privile ged

   and confidential materials that Moreau had taken from the USOPC. When the USOPC did not

   acquiesce to Moreau’s demands, Moreau filed his Complaint on February 5, 2020. [Doc. 1-2].

            Moreau has two claims which arise from the same discrete act by the USOPC – Moreau’s

   May 2019 termination. Yet his Complaint is 30 pages long and contains 164 separate numbered

   paragraphs, many of which are, by Moreau’s own admission, entirely unrelated to that terminatio n.

   See, e.g., Moreau 06.19.20 Depo. Tr. 323:10-234:11, filed as Exhibit A with Defendant’s Motion

   to Strike.     Interspersed in these narratives, Moreau sometime references conversations and

   information which, to the extent they have any bearing on reality at all, are clearly privileged. Prior

   to filing the Complaint, neither Plaintiff nor his counsel made any inquiry with Defendant, its

   counsel, or the Court concerning the propriety of their intended filing or whether there were any



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   privilege or confidentiality objections to the materials being filed.

            That the majority of the allegations in the Complaint are factually, or contextua lly,

   inaccurate, complicated the assertion of privilege. However, when Defendant filed its Answer on

   April 9, 2020, every time there appeared to be even a suggestion that Moreau was improperly

   seeking to waive the USOPC’s privilege, the USOPC objected and specifically requested that each

   of these allegations be stricken from the Complaint pursuant to Fed. R. Civ. P. 12(f).

            Even after receiving the USOPC’s Answer - clearly, unequivocally, and repeatedly

   asserting and preserving the USOPC’s attorney/client privilege - neither Plaintiff nor his counsel

   disclosed that they had in their possession voluminous materials Moreau took from the USOPC,

   including materials which are facially privileged. Similarly, in conferring with Plaintiff’s counsel

   regarding the Motion to Modify the Scheduling Order, filed by Defendant on May 11, 2020,

   Defendant – who was still investigating the scope of Plaintiff’s misappropriation of its property

   brought to its attention by Plaintiff’s initial disclosure – raised concerns regarding the propriety of

   Moreau having that property in his possession. Plaintiff and his counsel again declined to address

   the fact that there were additional, undisclosed, materials in their possession – including materials

   that were facially privileged - or the fact that they had incorporated such privileged materials into

   their Complaint.

            It was not until documents were exchanged by the parties in discovery that the extent of

   Moreau’s misappropriation of USOPC materials – including privileged materials – began to come

   to light. Similarly, Moreau’s counsel’s decision to use those misappropriated, and privile ged,

   materials in this litigation became clear. Indeed, cross referencing the allegations in the Complaint

   with the misappropriated documents Moreau has produced in discovery brought to light that



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   additional allegations in the Complaint contain references to or quotations from privile ged

   materials. The misappropriation – and intended use – of the USOPC’s privileged materials in this

   litigation was also confirmed by both Moreau and his legal counsel during Moreau’s deposition

   on June 19, 2020. Thus, when the USOPC filed its First Amended Answer on June 30, 2020, the

   Amended Answer incorporated additional objections to such materials. [Doc. 28-2].

            At Defendant’s request, counsel for the parties conferred regarding this privilege issue on

   the next date after Moreau’s deposition on which Plaintiff’s counsel was available, which was

   June 25, 2020. Despite undersigned’s repeated requests, Moreau’s counsel declined to take any

   steps to preserve the USOPC’s privilege pending resolution of this issue by the Court.

                                      III. REQUEST FOR RELIEF

            A.         The USOPC requests that access to Plaintiff’s Complaint be temporarily
                       restricted.

            Pursuant to D.C.COLO.LCivR 7.2(c)(1) the USOPC requests that access to Plaintiff’s

   Complaint be temporarily restricted, as many of the materials that Moreau intends to use in the

   present litigation are protected by the USOPC’s attorney-client privilege, including the potentially

   privileged information found within paragraphs 60, 65-66, 68-72, 83-87, 89, 107-110, 112, 115,

   124-126, 130, and 133-135 of the Complaint. Plaintiff had no right to use such materials at all,

   much less include these materials in a publicly available filing and particularly without seeking

   leave from the USOPC and/or the Court to do so first. Raymond v. Spirit AeroSystems Holdings,

   Inc., No. 16-1282-JTM-GEB, 2017 WL 2831485, *15 (D. Kan. June 30, 2018) (“Instead of ‘lying

   in wait’ with the documents . . . obligations of decency, fundamental fairness, and frankly the

   golden rule, should have prompted counsel to notify Defendants in order to avoid problems later.

   . . . [counsel may not] sidestep[] the orderly discovery process. . . [or be] the ultimate gatekeeper .


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   . . of Defendant’s claims of confidentiality and privilege”).

            B.         Restricting access to the Complaint is the only way to protect the USOPC’s
                       privilege interests, which clearly outweigh the presumption of public access.

            As contemplated by D.C.COLO.LCivR 7.2(c)(2) restricting access to the Complaint is the

   only way to protect the USOPC’s privilege interest, an interest which outweighs the presumptio n

   of public access. Although “there is a strong presumption of public disclosure” for materials filed

   with the Court, the “exceptions to that presumption are trade secrets, privileged information and

   information required to be kept secret by statute.” Bait It v. McAleenan, 410 F.Supp.3d 874, n2

   (N.D. Ill. 2019) (internal citations omitted). Here, the content of Plaintiff’s Complaint, particular ly

   the materials in the above enumerated paragraphs, implicates the attorney/client privilege, “the

   oldest of the privileges for confidential communications known to the common law.” U.S. v. Zolin,

   491 U.S. 554, 562 (1989) (internal citations and quotations omitted).

            The attorney/client privilege “protects confidential communications by a client to an

   attorney made in order to obtain legal assistance from the attorney in his capacity as a legal

   advisor.” Matter of Grand Jury Subpoena Duces Tecum, 697 F.2d 277, 278 (10th Cir. 1983)

   (internal citations and quotations omitted). “The importance of the attorney-client relationship is

   evidenced by the various privileges which protect it.” U.S. v. Colo. Sup. Ct., 189 F.3d 1281, 1287

   (10th Cir. 1999). Under this privilege, a “corporation is entitled to refuse to disclose confidentia l

   communications protected by the attorney-client privilege and it may prevent its attorneys or

   employees from disclosing such communications.” Sims v. Roux Labs., Inc., No. 06-10454, 2007

   WL 2571941, *1 (E.D. La. Aug. 31, 2007) (citing Nguyen v. Excel Corp., 197 F.3d 200, 206 (5th

   Cir. 1999)). Both federal and Colorado law prevents the use of “any communication made by the

   client to [an attorney] or [the attorney’s] advice given thereon in the course of professiona l


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   employment.” Genova v. Longs Peak Emergency Physicians, PC, 72 P.3d 454, 464 (Colo. Ct

   App. 2003) (citing C.R.S. § 13-90-107(1)(b) (2002)).

            C.         The USOPC will be seriously injured if Plaintiff’s Complaint continues to be
                       publicly available pending removal of Defendant’s privileged materials
                       improperly included in that document by Plaintiff.

            Plaintiff’s efforts to unilaterally waive the USOPC’s privilege is the precise type of “clearly

   defined and serious injury that would result if access is not restricted” which D.C.COLO.LCivR

   7.2(c)(3) is intended to protect against. “Preliminary questions concerning . . . the existence of a

   privilege . . . shall be determined by the court.” Fed. R. Evid. 104(a). This is why a party “must

   not use or disclose [potentially privileged] information until the claim” of privilege “is resolved.”

   Fed. R. Civ. P. 26(b)(5). Plaintiff’s decision to include privileged information in his Complaint

   not only implicates the USOPC’s rights, to the extent Plaintiff asserts that the privilege does not

   apply, his unilateral action in including facially privileged materials in his Complaint also

   interferes with the Court’s right to make the “preliminary” determination concerning the existence

   and applicability of the privilege.

            Ultimately, the privileged materials in Moreau’s Complaint should be stricken. Alldread

   v. City of Grenada, Miss., No. WC89-93-B-D, 1991 WL 501642, *7 (N.D. Miss. Aug. 5, 1991)

   (explaining that a motion to strike is appropriate when a party files a pleading with the Court

   “which make[s] use of any evidence found privileged” by the Court); accord Hensley v. City of

   Port Hueneme, No. CV 17-08422-AB (Ex), 2018 WL 5903963 (C.D. Cal. March 21, 2018)

   (striking “the portions of Plaintiff’s Complaint that directly quote” a privileged memorandum and

   reaffirming that including privileged information “in his Complaint does not mean that the

   privilege has been waived” if the privilege does not belong to him); Heckler & Koch, Inc. v.



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   German Sport Guns GmbH, No 1:11-cv-01108-SEB-TAB, 2014 WL 12756372, *5 (S.D. Ind. May

   15, 2014) (“It is undoubtedly true, as Counter Defendants point out, that evidence subject to the

   attorney-client privilege is inadmissible, and may be stricken from a pleading.”). Pursuant to the

   Court’s July 6, 2020, Minute Order, such relief is being requested in a separate motion. [Doc. 33].

   On such motion, “those portions of a complaint that make use of privileged communications may

   be removed from the complaint.” Sims, 2007 WL 2571941 at *1. In the meantime, a failure to

   restrict access to the Complaint, which contains material that the USOPC contends is protected by

   attorney-client privilege, would irreparably damage the attorney-client privilege, the loss of which

   constitutes a serious injury. See, e.g., Mohammed v. Holder, No. 07-cv-02697-MSK-BNB, 2014

   WL 1493476, *4 (D. Colo. April 15, 2014) (suggesting that, although not properly raised in that

   case, “attorney-client or attorney work product privileges” are proper justifications for withhold ing

   public access to documents filed with the Court); Alewel v. Dex One Serv., No. 13-2312-SAC,

   2013 WL 6858504, *12-13 (D. Kan. Dec. 20, 2013) (denying a party’s motion to restrict access

   after finding the “public’s interest outweighs the parties’ interest” because the parties “failed to

   articulate substantial interests recognized by legal authority . . . [such as asserting the] documents

   [are] covered by a privilege, such as the attorney-client privilege”).

            D.         Due to Plaintiff’s refusal to take any action to preserve the USOPC’s privilege
                       rights pending resolution of this matter by the Court, no alternative to
                       restriction is practicable and only restriction will adequately protect the
                       USOPC’s privilege interests.

            In light of the ongoing harm caused by the USOPC’s privileged information being publicly

   available – through no decision or action on the part of the USOPC – restricting access is necessary.

   As required under D.C.COLO.LCivR 7.2(c)(4), the USOPC attempted to identify an alternative to

   restricting access that would adequately protect the USOPC’s privilege rights and the Court’s right


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   to address any dispute there may be concerning that privilege. Specifically, in order to balance the

   public’s interest in access to court filings with the USOPC’s interests, the USOPC first sought to

   resolve this matter with Plaintiff’s counsel, who declined to amend the Complaint or put forth any

   other proposed alternative for addressing this problem.

            Defendant has narrowly tailored its request to restrict access. Defendant seeks only to limit

   access to the Complaint for the finite amount of time it takes to permit Plaintiff to raise any

   arguments he, or his counsel, may have that the information concerning Moreau’s communicatio ns

   with the USOPC’s in-house counsel while employed at the USOPC is not protected by attorney-

   client privilege or that the inclusion of that information in the Complaint is not reasonably likely

   to affect that privilege. The USOPC anticipates that an amended operative Complaint with the

   USOPC’s privileged information removed will have to be filed upon resolution of this matter and

   has no objection to this Complaint being made publicly available. See, e.g., Otero v. Vito, No.

   5:04CV211DF, 2005 WL 1429755, *2 (M.D. Ga. June 15, 2005) (ruling plaintiff “cannot discover

   or provide” defendant’s privileged information in his complaint, any such statements or references

   in the complaint were “impertinent” under Rule 12(f), and directing the plaintiff “to file a revised

   Amended Complaint that complies with the Court’s instructions” to strike such materials).

            E.         Level 1 Restriction is Requested

            Pursuant to D.C.COLO.LCivR 7.2(b) and (c)(5), Level 1 restriction, limiting access to the

   Complaint to the parties and the Court, is requested. While opposing counsel does not have a right

   to review or use the privileged materials contained in the Complaint, as the saying goes “the cat is

   out of the bag.” Indeed, Plaintiff’s counsel has stated that they have reviewed all of the privile ged

   materials relied upon in making the objectionable allegations in the Complaint and has declined to



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   take any steps to preserve the USOPC’s rights pending resolution of this matter by the Court.

   Unfortunately, particularly in light of opposing counsel’s confirmation that they have reviewed the

   USOPC’s privileged materials at length during the year in which they have had them, it appears

   that the necessary next steps include disqualification of Plaintiff’s counsel and imposition of

   dispositive sanctions against Moreau in accordance with Xyngular v. Schenkler, 890 F.3d 868

   (10th Cir. 2018). The USOPC will file its motions requesting such relief in short order. However,

   Moreau’s willful and bad faith taking of the USOPC’s privileged property, and his counsel’s

   complete failure to take any steps to properly address the potential privilege question upon receipt

   of such materials from Moreau, has necessitated the filing of the present request for immed iate

   action. Said differently, Moreau’s “failure to comply with the federal rules has placed privile ged

   . . . information on the court’s CM/ECF system, an internet system, and [is costing the USOPC]

   and the court time in and energy in sealing the aforementioned document[].”1 Reed v. AMCO Ins.

   Co., No. 3:09-CV-0328-LRH-RAM, 2012 WL 846475, *3 (D. Nev. March 9, 2012) (“the

   underlying violation of filing documents containing confidential information . . . is sanctionab le

   conduct”).

             Wherefore the USOPC respectfully requests that Plaintiff’s Complaint be kept as a Level 1

   restricted document pending resolution of the privilege questions implicated by its contents.




   1   The USOPC is entitled to recover the cost of these efforts.

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            Respectfully submitted July 7, 2020.

                                                   By: s/ Beth Ann Lennon
                                                      Beth Ann Lennon
                                                      Raymond M. Deeny
                                                      Sherman & Howard L.L.C.
                                                      633 Seventeenth Street, Suite 3000
                                                      Denver, Colorado 80202-3622
                                                      Phone: 303.297.2900
                                                      Fax: 303.298.0940
                                                      blennon@shermanhoward.com
                                                      rdeeny@shermanhoward.com

                                                      Attorneys for the USOPC

                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of July, 2020 a true and correct copy of the foregoing
   DEFENDANT’S MOTION FOR INTERIM RESTRICTION OF ACCESS TO
   PLAINTIFF’S COMPLAINT was filed with the Clerk of the Court using the CM/ECF system
   and served upon the following:


            Darold W. Killmer, Esq.
            Michael Fairhurst, Esq.
            1543 Champa Street, Suite 400
            Denver, CO 80202
            Email: dkillmer@KLN-Law.com
            Email: mfairhurst@KLN-Law.com


                                                          s/ Barbara McCall
                                                          Barbara McCall, Practice Assistant




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